     Case 2:19-bk-22976-NB       Doc 12 Filed 11/19/19 Entered 11/19/19 12:59:39                Desc
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5                                                                      CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
                                                                       BY sumlin     DEPUTY CLERK
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8                              UNITED STATES BANKRUPTCY COURT
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                                CENTRAL DISTRICT OF CALIFORNIA
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                                       LOS ANGELES DIVISION
11
12   In re                                        Case No.: 2:19-bk-22976-NB

13   JENNIFER MENDEZ,                             Chapter 13
14                                                 ORDER ON DEBTOR’S MOTION FOR
15                                                 EXTENSION OF TIME TO FILE REQUIRED
                                        Debtor[s]. DOCUMENTS
16
                                                   [No hearing required]
17
18           The debtor has filed a motion for extension of time to file required documents (the
19   “Extension Motion”). The current deadline is November 15, 2019.
20           This Bankruptcy Court has reviewed the Extension Motion, and finds and concludes
21   as follows. First, any extension requires a showing of sufficient cause. Second, a maximum
22   extension generally is two weeks, because that provides a total of approximately one month
23   to file the case commencement documents, which is generally plenty of time, and cases that
24   are filed but not diligently prosecuted are not a proper use of the bankruptcy system. Third,
25   it is important for parties in interest to have key documents available to them a reasonable
26   amount of time before the meeting of creditors (11 U.S.C. § 341(a)), which is scheduled for
27   December 6, 2019. Taking into consideration the foregoing and the matters set forth in the
28   Extension Motion, it is hereby ORDERED:




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1         1. The Extension Motion is granted as follows: the debtor must file all required
2             documents no later than December 2, 2019 (the required documents are listed in
3             notice(s) from this Bankruptcy Court that have been mailed to the debtor and are
4             available on the docket).
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         Date: November 19, 2019
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